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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 Re: Civil Cases
                                                          NOTICE OF TELECONFERENCE
 21-CV-10406                                                    INFORMATION



KENNETH M. KARAS, United States District Judge:

        For the week of March 14, 2022, the Court will hold all civil conferences, hearings,

and/or oral arguments by telephone. Counsel shall call the following number at the designated

time:

        Meeting Dial-In Number (USA toll-free): (888) 363-4749 Access Code: 7702195

        Please enter the conference as a guest by pressing the pound sign (#).

        Given that much of the Court is operating remotely and has limited mail capability,

counsel involved in any pro se cases shall mail a copy of this Notice to or otherwise inform the

pro se party of the above teleconference information. Counsel in any pro se inmate cases shall

ensure that the pro se party is on the line before calling the above-referenced number.

        For initial conferences, counsel shall submit a proposed case management and discovery

schedule via ECF by 5 p.m. on the evening before the initial conference.

        Any requests for adjournments should be filed as soon as possible and clearly explain

why the conference should be adjourned.

SO ORDERED.

 Dated:    March 11, 2022
           White Plains, New York

                                                           KENNETH M. KARAS
                                                          United States District Judge
